Case 2:05-cr-20233-SH|\/| Document 20 Filed 07/22/05 Page 10f3 Page|D‘l?
IN THE UNI'I'ED STATES DISTRICT COURT

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FOR THE wESTERN DISTRICT oF TENNESSE:E '
wESTERN DIVISION 05 JUL 22 PH 23 90

 

 

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UNITED sTATEs OF AMERICA -WDUF'JL¢.M:W§S

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Criminal No. d_§- :;2[!=‘2 § 5 Ml

(30~Day Continuance)

 

 

 

 

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Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF' 'I'IME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should be
continued for reasons resulting in the exclusion of time under the
Speedy Trial Act. The case is currently set on the August, 2005,
criminal rotation calendar, but is now RESET for report at gigg
a.m. on Fridag¢ August 26l 2005, with trial to take place on the
Septemher, 2005 rotation calendar with the time excluded under the
Speedy Trial Act through September 16, 2005. Agreed in open court

at report date this 22nd day of July, 2005.

reis document entered on the docket sheet in com Z`eance
wm eula 55 ana/or 32(b) Fech on '7 ' 10

 

Case 2:05-cr-20233-SH|\/| Document 20 Filed 07/22/05 Page 2 of 3 Page|D 18`

SO ORDERED this 22nd day Of July, 2005.

hmw

JON HIPPS MCCALLA
UN ED STATES DISTRICT JUDGE

 

Assistant United States Attorney

 

 

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Counse for Defendant(s)

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 20 in
case 2:05-CR-20233 Was distributed by faX, mail, or direct printing on
July 25, 2005 to the parties listed.

 

 

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Honorable Jc)n McCalla
US DISTRICT COURT

